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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

United States of America,

       Plaintiff,

               V.                                         Case No. 1:19cr044

Brian Rini,
                                                          Judge Michael R. Barrett

       Defendant.


                                           ORDER

       This matter is before the Court pursuant to a hearing conducted October 31,

2019 pursuant 18 U.S.C. ' 4247(d).

       The parties do contest the report as prepared by the Federal Bureau of Prisons

finding him competent.

       Based upon the report of Dr. David M. Szyhowski, Psy.D., Forensic Studies Unit

Psychologist, and statements placed on the record, the Court finds defendant, Brian

Rini, to be competent and the matter shall proceed.

       Counsel for the defendant has requested additional time beyond the speedy trial

calculation of seventy (70) days pursuant to 18 U.S.C. § 3161 and has further executed

in open court a waiver of speedy trial through and including a mutually agreed upon

date of the parties.

       As such, Court finds that the ends of justice served outweigh the best interest of the

public and the defendant in a speedy trial, pursuant to 18 U.S.C. ' 3161(h)(7)(A), (B)(i).

Based on the foregoing, the Court finds the period of time elapsing from May 20, 2019 until

January 8, 2020 is properly, and shall be, excluded from the speedy trial calculation.
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  This matter shall proceed as follows:

         In Person Status Conference: January 8, 2020 at 12:30 pm,

  Courtroom 109

  IT IS SO ORDERED.

                                        s/Michael R. Barrett
                                    Michael R. Barrett, Judge
                                    United States District Court
